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IN THE UNITED sTATEs DISTRICT coUR'.r'
FoR THE wEsTERN DISTRICT oF TENNESSEE 95 113-§§ 19 pM ?; H
wEsTERN DIVISION `

 

   

ELLIPSIS, INC. , l" f-f-§" :a`li 'H IS

Plaintiffs,

vs. ) No. 03-2939~BV

THE COLOR WORKS, INC.,

v\_r\_zv

Defendants.

 

ORDER GRANTING IN PART PLAINTIFFS' MOTION FOR PROTECTIVE ORDER
AND
ORDER DENYING PLAINTIFFS’ MOTION TO QUASH SUBPEONA TO TAKE THE
DEPOSITION OF DAVID L. BOURLAND

 

On April 22, 2005, the defendant, The Color‘ Works, Inc.
(“TCW”), served the plaintiff, Ellipsis Inc. (“Ellipsis”) with a
notice of deposition and subpoena duces tecum for attorney David L.
Bourland (“Bourland”). Presently before the court is the May 2,
2005 combined motion of Ellipsis requesting that the court enter a
protective order providing that the deposition of Bourland not be
had and that the court quash the subpoena to take the deposition of
Bourland. The motion was referred to the United States Magistrate
Judge for determination. For the following reasons, the motion for
protective order is granted in part, and the motion to quash is
denied.

BACKGROU'N'D

Bourland is a licensed attorney in the State of Tennessee and

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is a member of the law firm of Bourland, Heflin, Alvarez & Minor,
PLC in Memphis, Tennessee. Ellipsis’ trial counsel of record in
this case, John J. Heflin, III and John Marshall Jones, are members
of the same law firm. Bourland serves as secretary of Ellipsis
Inc. and has personally prepared the corporation’s tax returns. He
also negotiated the license agreement between Ellipsis and Realtree
Outdoor Products, Inc. that is at issue in this case. Bourland is
not serving as trial/litigation counsel for Ellipsis in this
matter.

TCW has noticed Bourland's deposition to obtain information
regarding several issues it claims are pivotal to this case. Among
other things, TCW seeks to depose Bourland regarding Ellipsis’
alleged profitability. TCW also plans to ask Bourland questions
concerning the existence of Ellipsis’ alleged “exclusive license”
with Realtree. Finally, TCW plans to ask Bourland questions about
Ellipsis’ corporate structure and Bourland's responsibilities as
Ellipsis’ corporate officer.

ANALYSIS

The question presented by this motion is whether it is
appropriate for a party to depose “opposing counsel.” The Federal
Rules of Civil Procedure do not specifically prohibit the taking of
opposing counsel’s deposition. Indeed, Federal Rule of Civil

Procedure 30(a) states that a party may take the deposition of “any

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person.” However, the taking of opposing counsel's deposition has
been discouraged by many courts as a means of discovery. In the
seminal case on the issue of deposing opposing counsel, the Eighth
Circuit stated that the ‘practice of deposing' opposing counsel
“disrupts the adversarial system and lowers the standards of the
profession, but it also adds to the already burdensome time and
costs of litigation.” Shelton v. American Motors Corp., 805 F.2d
1323l 1327 (Bth Cir. 1987). Despite this view, opposing counsel is
not absolutely immune from being deposed.

In Shelton v. American Mbtors Corp., 805 F.2d 1323 (Bth Cir.
1987), the Eighth Circuit set out a three-part test in an effort to
limit the circumstances in which opposing trial counsel must submit
to a deposition. The proponent of the deposition must satisfy each
prong of the test before the deposition of “opposing counsel” can
be taken. First, there must be no other means available to obtain
the information other than to depose opposing counsel. Id. Second,
the information sought must be relevant and non-privileged. Id.
Finally, the information must be crucial to the preparation of the
case. Id.

In 2002, the Eighth Circuit clarified the application of the
Shelton test in Pamida, Inc. v. E.S. Originals, Inc., 281 F.3d 726
(2002), where it permitted the deposition of counsel regarding a

prior, completed case. The court in Pamida stated that “[t]he

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Shelton test was intended to protect against the ills of deposing
opposing counsel in a pending case which could potentially lead to
the disclosure of the attorney’s litigation strategy.” Id. at 730.
The court pointed out specifically that Shelton “was not intended
to provide heightened protection to attorneys who represented a
client in a completed case and then also happened to represent that
same client in a pending case where the information known only by
the attorneys regarding the prior concluded case was crucial.” Id.
The Eight Circuit found that the Shelton test did not apply to the
deposition of opposing counsel with regard to discovery of
information in the completed case and the Shelton factors need not
be satisfied. Thus, as clarified by the Enghth Circuit, the
Shelton test applies to limit depositions of attorneys in only two
instances: (1) when trial or litigation counsel are being deposed
and (2) when such questioning would expose litigation strategy in
the pending case. United States v. Phillip Morris Incorporated, 209
F.R.D. 13, 17 (D.D.C. 2002).

The Shelton test was adopted by the Sixth Circuit in
Nationwide Mutual Insurance Company v. Home Insurance Company, 278
F.3d 621 (6th Cir. 2002). The court in Nationwide, however, did
not address whether or not the three criteria set out in Shelton
apply to every attempt to depose an attorney, regardless of the
attorney’s status as trial counsel or his knowledge of trial

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strategy. After careful consideration of the case law, this court
finds the holdings in Pamida and Phillip Morris to be persuasive
and concludes that the Shelton test should be limited to those
instances where the attorney to be deposed is either
trial/litigation counsel or the subject matter of the deposition
may elicit litigation strategy.

In this case, it is undisputed that Bourland is not the trial
or litigation counsel of record in this case. It is also apparent
that TCW’s proposed line of questioning' will not involve any
questions which might expose Ellipsis’ trial strategy. Thus, the
Shelton test does not apply in this case. As such, Bourland must
appear for a deposition at a time and place to be decided by TCW.

The court does foresee a potential problem with TCW’s
questions involving Bourland's role as the negotiator of the
licensing agreement between Ellipsis and Realtree. During these
negotiations, Bourland was serving in the capacity as counsel for
Ellipsis. Any private communications between Bourland and his
client regarding these negotiations would be privileged as well as
any confidential tax advice he gave his client. Therefore, TCW is
instructed to limit its questioning to the areas regarding
Ellipsis’ tax returns, Ellipsis’ corporate structure, Bourland's
knowledge of the existence of an “exclusive” license agreement, and

Bourland's responsibilities as a corporate officer. all of which

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topics the court finds are relevant to the instant litigation.
Accordingly, Ellipsis’ motion for protective order is granted
in part and the motion to quash the subpoena is denied.

IT IS SO ORDERED this 19th day of May, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 135 in
case 2:03-CV-02939 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

